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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

NATIONAL RAILROAD PASSENGER                   *
CORPORATION (AMTRAK)
                                              *       CIVIL ACTION NO. 1:22-CV-01043
       PLAINTIFF,
                                              *
v.
                                              *
SUBLEASE INTEREST OBTAINED PURSUANT
TO AN ASSIGNMENT AND ASSUMPTION     *
OF LEASEHOLD INTEREST, et al.
                                    *
      DEFENDANTS.
                                    *

*      *       *       *       *      *       *       *       *       *      *      *     *       *

            ORDER REQURING DELIVERY OF POSSESSION TO AMTRAK
                   UNDER STATED TERMS AND CONDITIONS

       Upon consideration of Plaintiff National Railroad Passenger Corporation’s (“Amtrak”)

Motion for Immediate Possession of the property interest located at 50 Massachusetts Ave. NE,

Washington, D.C., 20002, as further describe in the Complaint, (the “Subject Property), good

cause existing therefor,

       IT IS HEREBY ORDERED that Amtrak’s Motion for Transfer of Possession is

GRANTED. All Defendants to this action and all persons in possession or control of the Subject

Property shall surrender possession of said property to Amtrak, subject to the following terms:

       1.      Defendants shall cooperate in good faith to transfer possession of the Subject

Property to Amtrak.

       2.      Defendants shall, within ten (10) days, provide to Amtrak any and all existing

retail and office tenant leases and any other commercial leases/licenses and current rent rolls, a

well as a list of all security deposits, by name and amount, of existing tenants.


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       3.      Defendants shall, within ten (10) days, provide to Amtrak a list of all contractors,

subcontractors, and vendors related to the Subject Property, including copies of all contracts and

agreements with such contractors, subcontractors, and vendors (including JLL).

       4.      Union Station Investco LLC (“USI”) shall provide to Amtrak, within ten (10)

days, a copy of all pleadings in any case between itself and any tenants at the Subject Property,

including any eviction actions or rent collection litigation.

       5.      Defendants shall provide to Amtrak, within ten (10) days, all information that

relates to security and access controls, codes and keys for the Subject Property. The Parties shall

immediately schedule a comprehensive tour of the Subject Property to demonstrate all security

measures and practices currently in place.

       6.      Defendants are prohibited from negotiating, amending, terminating, entering into

and/or renewing leases or other licenses or agreements involving the Subject Property as of the

date of this Order.

       7.      Within three business days of the date of this Order, Plaintiff and USI shall serve

a joint written notice to all property managers (including JLL), vendors and tenants at Subject

Property (individually and collectively the “Third Parties”) regarding this Order. USI shall

provide the addresses to which notices are to be sent, whether a physical mailing address and/or

an email address; Amtrak shall provide such notices to the Third Parties. The notice shall include

appropriate contact information for Amtrak and, if applicable, a description of how future rental

payments should be made. The notice shall also indicate that Plaintiff and the Third Parties may

communicate with each other to obtain information needed or desired for the transfer of

possession. If agreement cannot be reached as to the terms of the notice, the Parties shall, no

later than two business days after the date of this order, notify the Court.



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       8.      If any Third Parties pay rent to Defendants after the date of this Order,

Defendants shall notify Amtrak, maintain an accounting of those payments, and transfer those

amounts to Amtrak within seven business days of receiving the rental payment.

       9.       Within three business days of the date of this Order, the Parties are ordered to

meet and confer as to any other issues relating to procedures, protocols and additional

information and materials that would assist in the transition of possession of the Subject Property

Interest, with such additional meetings to occur thereafter as needed to accomplish the transition

of possession. The Court anticipates that the transfer of possession shall have fully occurred

within fourteen calendar days of the date of this Order, unless the Parties agree to a different time

period. Defendants shall cooperate with Amtrak, including in its efforts to obtain information

from Third Parties, to ensure effective transition of possession of the Subject Property within this

timeframe.   To the extent the Parties cannot resolve any issues relating to the transfer of

possession not addressed in this Order, the Parties shall provide a joint status report to the Court,

no later than 10 calendar days after the date of this Order, noting the specific issues that need to

be resolved and each party’s position on those issues.



SO ORDERED:



Dated: _________________________, 2023                _________________________________
                                                      The Honorable Amit P. Mehta




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